Case 2:21-cr-00293-SB Document 188 Filed 03/06/24 Page 1 of 4 Page ID #:<pageID>




                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA




     UNITED STATES OF AMERICA,                Case No. 2:21-cr-00293-SB-1
          Plaintiff,

     v.                                       ORDER DENYING MOTION FOR
                                              REDUCTION OF SENTENCE
     MAHSA PARVIZ,
          Defendant.



         Defendant Mahsa Parviz was convicted at trial of making a false statement
 in a passport application and aggravated identity theft. Dkt. No. 77. In July 2022,
 the Court sentenced her to 37 months on the first count, followed by 24 months on
 the second (equating to 61 months of imprisonment total), followed by three years
 of supervised release. Dkt. No. 121. She filed a notice of appeal shortly thereafter.
 Dkt. No. 127. In November 2023, the U.S. Sentencing Commission amended the
 sentencing guidelines to eliminate or reduce the additional criminal history points
 for offenses committed while under a criminal justice sentence, depending on the
 defendant’s criminal history. United States Sentencing Commission, Guidelines
 Manual App. C., Amdt. 821 (Supp. Nov. 2012–Nov. 2023) (modifying U.S.S.G.
 § 4A1.1). The amendment applies retroactively. U.S.S.G. § 1B1.10(d)–(e). Based
 on this amendment, Parviz moves to reduce her sentence under 18 U.S.C.
 § 3582(c)(2). The government opposes. Because any motion for reduction in
 sentence in this Court is barred by her pending appeal, the Court analyzes her
 motion under Federal Rule of Criminal Procedure 37 1 and DENIES it because she
 is ineligible for relief under Amendment 821.


 1
  Defendant previously moved for an indicative ruling that the Court would grant
 her motion for compassionate release under 18 U.S.C. § 3582(c)(1) (Dkt. No. 150),
 which the Court denied (Dkt. No. 164).


                                          1
Case 2:21-cr-00293-SB Document 188 Filed 03/06/24 Page 2 of 4 Page ID #:<pageID>




                                          I.

                                          A.

         Generally, “the filing of a notice of appeal divests a district court of
 jurisdiction over those aspects of the case involved in the appeal.” Stein v. Wood,
 127 F.3d 1187, 1189 (9th Cir. 1997). While a court may not grant a motion for
 relief while an appeal is pending, Federal Rule of Criminal Procedure 37 grants the
 court the authority to (1) defer consideration, (2) deny the motion, or (3) indicate
 that it would grant the motion if the court of appeals remands. Fed. R. Crim. P. 37.
 In the interest of judicial economy, the Court considers the merits as authorized by
 Rule 37. See United States v. Velasquez, No. 12-cr-877-4 at *3, (D. Ariz. Oct. 1,
 2020) (analyzing merits of 18 U.S.C. § 3582(c) motion under Rule 37 during
 pendency of appeal in interest of judicial economy).

                                          B.

        Section 3252, which sets forth the process for reducing a sentence pursuant
 to a retroactive amendment to the sentencing guidelines, states:

       [I]n the case of a defendant who has been sentenced to a term of
       imprisonment based on a sentencing range that has subsequently been
       lowered by the Sentencing Commission pursuant to 28 U.S.C.
       § 994(o), upon motion of the defendant or the Director of the Bureau
       of Prisons, or on its own motion, the court may reduce the term of
       imprisonment, after considering the factors set forth in section 3553(a)
       to the extent that they are applicable, if such a reduction is consistent
       with applicable policy statements issued by the Sentencing
       Commission.

 18 U.S.C. § 3582(c)(2). Amendment 821 is “consistent with applicable policy
 statements issued by the Sentencing Commission.” See U.S.S.G. § 1B1.10(d)–(e)
 (listing Amendment 821 as applying retroactively). Courts analyze 3582(c)(2)
 motions in two steps: first determining whether the application of the amendment
 would result in a reduced guideline range, and, if it does, then determining whether
 to reduce the sentence after considering the § 3553(a) factors. Dillon v. United
 States, 560 U.S. 817, 826 (2010).

       Amendment 821 changes the calculation of a defendant’s criminal history
 category for offenses committed while under a criminal justice sentence. Prior to
 the amendment, defendants who committed the charged offense while under a

                                          2
Case 2:21-cr-00293-SB Document 188 Filed 03/06/24 Page 3 of 4 Page ID #:<pageID>




 criminal justice sentence received two additional criminal history points. After the
 amendment, no additional criminal history points are added if the defendant has six
 criminal history points or less, and one additional criminal history point is added if
 the defendant has seven or more points. U.S.S.G. § 4A1.1(e). The total points
 determine a defendant’s criminal history category, which is then applied to the
 offense level to determine the guideline range. U.S.S.G. § 5A.

                                          II.

        The Court first analyzes whether the amendment reduces Parviz’s guideline
 range. The guidelines instruct the court to determine the amended guideline range
 “that would have been applicable to the defendant if the amendment . . . had been
 in effect at the time the defendant was sentenced.” U.S.S.G. § 1B1.10(b)(1). The
 court “shall substitute only the [applicable amendment] for the corresponding
 guideline provisions that were applied when the defendant was sentenced and shall
 leave all other guideline application decisions unaffected.” Id. The guidelines
 generally prohibit a court from reducing a sentence below the amended guideline
 range. Id. § 1B1.10(b)(2)(A). And where an amendment does not lower the
 applicable guideline range, a reduction in sentence is not authorized. Id.
 § 1B1.10(a)(2)(B).

        In this case, Parviz’s criminal history score was 15 at her original
 sentencing, which included 13 points for her prior criminal convictions and 2
 points for having committed the charged offenses while under a criminal justice
 sentence. Dkt. No. 125 ¶¶ 39–41. This placed her in criminal history category VI.
 Id. ¶ 41; see also U.S.S.G. § 5A (noting that a score of 13 or more falls within
 criminal history category VI). Under the amendment, Parviz would receive 1 point
 instead of 2 for having committed the charged offenses while under a criminal
 justice sentence. U.S.S.G. § 4A1.1(e). Her total criminal history score would
 therefore be 14—which continues to place her in category VI, the same category
 she had at sentencing. U.S.S.G. § 5A. Parviz’s amended guideline range is
 therefore no different from her original guideline range. Because the amendment
 does not have the effect of lowering Parviz’s guideline range, a reduction is not
 authorized. 2

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   In two letters, Parviz requests appointment of counsel (as well as a document
 examiner and a licensed family law expert) to assist with her motion. Dkt. Nos.
 183, 185. She discloses her intention to file evidence that the judgment against her
 in a Texas state child custody case was fraudulent, that a third party was
 responsible for some of the conduct attributed to her, and that the government has

                                           3
Case 2:21-cr-00293-SB Document 188 Filed 03/06/24 Page 4 of 4 Page ID #:<pageID>




       Accordingly, the Court DENIES the motion.


 Date: March 6, 2024                         ___________________________
                                                   Stanley Blumenfeld, Jr.
                                                 United States District Judge




 incorrectly represented and grossly overstated her criminal history. Dkt. No. 185.
 She argues that without counsel she will be prejudiced in her ability to present
 evidence supporting her motion. Id. However, Parviz has no Sixth Amendment
 right to counsel here. United States v. Townsend, 98 F.3d 510, 513 (9th Cir. 1996)
 (holding that a defendant does not have “a Sixth Amendment right to counsel when
 bringing a § 3582(c) motion” to address an amendment to the sentencing
 guidelines). Nor is appointment otherwise warranted. The additional evidence she
 seeks to develop is irrelevant because her motion requires only a determination of
 the effect of Amendment 821 on her guideline calculation. Accordingly, the Court
 denies Parviz’s request for appointment of counsel for purposes of this motion.


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